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 IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

    MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA,                  )
                                           )      CRIMINAL ACTION NO.
        v.                                 )         2:17cr131-MHT
                                           )              (WO)
HANNAH SILAS                               )

                               OPINION AND ORDER

    This      cause       is    before     the    court    on   the   parties’

joint motion to continue trial. For the reasons set

forth below, the court finds that jury selection and

trial,       now    set        for   December      4,     2017,   should    be

continued pursuant to 18 U.S.C. § 3161(h)(1)(A).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer,      785    F.2d        1506,     1516    (11th Cir. 1986),       the

court    is    limited         by    the   requirements      of   the   Speedy

Trial Act, 18 U.S.C. § 3161.                   The Act provides in part:

             “In any case in which a plea of not
             guilty is entered, the trial of a
             defendant charged in an information or
             indictment with the commission of an
             offense shall commence within seventy
             days from the filing date (and making
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             public)   of    the   information   or
             indictment, or from the date the
             defendant   has   appeared   before  a
             judicial officer of the court in which
             such charge is pending, whichever date
             last occurs.”

§ 3161(c)(1).         The Act excludes from the 70-day period

any continuance based on “findings that the ends of

justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”       § 3161(h)(7)(A).            The Act also excludes from

the     70-day    period     any    continuance      based     on    “delay

resulting         from      any     proceeding,          including         any

examinations,        to   determine       the   mental    competency       or

physical capacity of the defendant.”                  § 3161(h)(1)(A).

       The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Silas in a speedy trial.

Here, the magistrate judge entered an order granting

the government’s motion for an evaluation of Silas’s

competency to stand trial, and committed her to the

custody of the Attorney General for that purpose.                          The

order provides that a mental-health evaluation report


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is to be submitted to the court no later than 60 days

after Silas’s arrival at the facility where she will be

evaluated.       In addition, defense counsel represented at

a telephone conference on October 27, 2017, that U.S.

Marshals informed him that it could take several weeks

for Silas to be transferred to an appropriate facility

for her evaluation.               The combined period necessary to

transfer     Silas         and   for   the   evaluation     report   to    be

completed and submitted could take several months.                          A

continuance       is       warranted      and   necessary    because      the

proceedings have been delayed by an “examination[] ...

to    determine        the       mental      competency     ...   of      the

defendant.”            §    3161(h)(1)(A).         The    parties      have,

therefore, jointly moved for such a continuance.

                                       ***

      Accordingly, it is ORDERED as follows:

      (1) The joint motion for continuance (doc. no. 258)

is granted.

       (2) The jury selection and trial for defendant

Hannah Silas, now set for December 4, 2017, are reset



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for March 12 2018, at 10:00 a.m., in Courtroom 2FMJ of

the     Frank    M.   Johnson      Jr.    United    States     Courthouse

Complex, One Church Street, Montgomery, Alabama.

       DONE, this the 30th day of October, 2017.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE




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